       Case 17-23434-CMB                        Doc 78        Filed 01/06/23 Entered 01/06/23 11:44:15                         Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              PAMELA A. POLINSKI


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          17-23434CMB




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 NATIONSTAR MORTGAGE LLC D/B/A MR                                                  8

 Last 4 digits of any number you use to identify the debtor's account                         5   9   0   2

 Property Address:                             352 MIDDLETOWN RD
                                               NEW STANTON PA 15672




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $      15,404.01

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $      15,404.01

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $      15,404.01



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $      $1,108.69
         The next postpetition payment is due on                12 / 1 / 2022
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     PAMELA A. POLINSKI                                               Case number   (if known)   17-23434CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    01/06/2023


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     PAMELA A. POLINSKI                                         Case number   (if known)   17-23434CMB
             Name




                                              Disbursement History

Date         Check #     Name                                 Posting Type                                             Amount
MORTGAGE ARR. (Part 2 (b))
11/25/2019   1140185     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                                53.92
01/28/2020   1147030     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               578.17
04/27/2020   1157491     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               749.15
04/26/2021   1195004     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               657.09
05/25/2021   1198126     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               106.95
06/25/2021   1201309     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               841.50
08/26/2021   1207638     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               292.40
09/24/2021   1210758     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                             1,367.36
10/25/2021   1213827     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                                48.82
11/22/2021   1216868     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               605.20
12/23/2021   1219939     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               379.93
01/26/2022   1222996     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               591.61
02/23/2022   1225876     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               737.26
03/25/2022   1228830     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               907.19
04/26/2022   1231879     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               736.22
05/25/2022   1234912     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               323.54
06/27/2022   1237943     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               469.19
09/27/2022   1246644     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                             4,823.93
10/25/2022   1249463     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                             1,127.89
12/22/2022   1255003     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                                 6.69
                                                                                                                     15,404.01

MORTGAGE REGULAR PAYMENT (Part 3)
11/21/2017   1061644     PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR               960.60
12/21/2017   1064952     PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR               478.95
01/25/2018   1068377     PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR               478.87
02/23/2018   1071563     PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR               478.78
04/24/2018   1077990     PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR               478.52
05/25/2018   1081266     PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR             3,352.06
07/26/2018   1087633     PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR             1,526.76
08/28/2018   1090848     PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR             1,562.45
09/25/2018   1093980     PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR               531.99
10/29/2018   1097227     PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR             1,081.27
11/27/2018   1100355     PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR             1,860.77
12/21/2018   1103453     PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR               627.36
01/25/2019   1106682     PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR             1,267.22
02/25/2019   1109926     PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR             1,284.45
03/25/2019   1113213     PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR             1,354.73
04/26/2019   1116378     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             1,421.37
05/24/2019   1119778     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             1,484.21
06/25/2019   1123182     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             1,551.11
07/29/2019   1126625     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             1,614.42
08/27/2019   1130099     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             2,078.10
09/24/2019   1133380     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             1,731.27
10/24/2019   1136731     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             1,756.79
11/25/2019   1140185     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             1,731.55
12/23/2019   1143567     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR               904.84
01/28/2020   1147030     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             1,287.56
03/23/2020   1154033     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             1,198.75
04/27/2020   1157491     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             2,089.85
06/26/2020   1163975     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             1,358.47
07/29/2020   1167083     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR               437.48
08/25/2020   1170160     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR               874.96
09/28/2020   1173255     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             1,966.32
10/26/2020   1176350     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             1,761.31
11/24/2020   1179419     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR               420.75
12/21/2020   1182360     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             1,683.00
01/25/2021   1185335     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR               420.75
02/22/2021   1188465     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             1,262.25
03/26/2021   1191762     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             1,683.00
04/22/2021   1191762     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            CANCELLED CHECK TO CREDITOR/CONTINUING DEBT
                                                                                                     -1,683.00
04/22/2021   1193077     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            PREWRITTEN CHECK TO CREDITOR/CONTINUING DEBT
                                                                                                      1,683.00
04/26/2021   1195004     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR             1,446.66

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Debtor 1     PAMELA A. POLINSKI                                         Case number   (if known)   17-23434CMB
             Name




                                             Disbursement History

Date         Check #     Name                                 Posting Type                                             Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
05/25/2021   1198126     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                             1,108.55
07/26/2021   1204513     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               891.00
08/26/2021   1207638     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                             2,430.10
09/24/2021   1210758     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                             1,107.64
10/25/2021   1213827     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                             1,107.64
11/22/2021   1216868     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                             1,107.64
12/23/2021   1219939     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                             1,107.64
01/26/2022   1222996     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                             1,107.64
02/23/2022   1225876     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                             1,107.64
03/25/2022   1228830     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                             1,107.64
04/26/2022   1231879     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                             1,108.69
05/25/2022   1234912     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                             1,108.69
06/27/2022   1237943     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                             1,108.69
07/26/2022   1240883     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               485.50
08/24/2022   1243773     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                               728.25
09/27/2022   1246644     NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                            AMOUNTS DISBURSED TO CREDITOR                             3,221.01
                                                                                                                     69,433.51




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                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

PAMELA A. POLINSKI
352 MIDDLETOWN RD.
NEW STANTON, PA 15672

GLENN R BARTIFAY ESQ
2009 MACKENZIE WAY STE 100
CRANBERRY TWP, PA 16066

NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
PO BOX 619094
DALLAS, TX 75261-9741

NATIONSTAR MORTGAGE LLC D/B/A MR COOPER**
ATTN BANKRUPTCY NOTICING
PO BOX 619096
DALLAS, TX 75261-9741

BRIAN C NICHOLAS ESQ
KML LAW GROUP PC
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




1/6/23                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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